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14                        UNITED STATES DISTRICT COURT
15                FOR THE CENTRAL DISTRICT OF CALIFORNIA
16                               WESTERN DIVISION
17

18 DIRECTORS GUILD OF AMERICA,               CASE NO. 2:18-cv-02719-CAS (SKx)
19
     INC.,
                                             MEMORANDUM OF POINTS AND
                  Petitioner,                AUTHORITIES IN SUPPORT OF
20                                           PETITION TO CONFIRM
             v.                              ARBITRATION AWARD
21                                           PURSUANT TO SECTION 301 OF
                                             THE LMRA, 29 U.S.C. § 185
22 SUPERSTITION DOG WITH A
     BONE, INC., AND GLOBAL                  Date:                     June 25, 2018
23 RENAISSANCE ENTERTAINMENT                 Time:                     10:00 A.M.
     GROUP, INC.,                            Courtroom:                8D
24                                           Presiding Judge:          Honorable
                  Respondents.                                         Christina A. Snyder
25
                                             Action Filed:             April 3, 2018
26

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     ID#:                                           BRIEF IN SUPPORT OF PETITION TO CONFIRM ARBITRATION AWARD
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 1                                             I
 2                            PRELIMINARY STATEMENT
 3          The Directors Guild of America, Inc. (“the Guild”) filed its verified petition
 4 herein pursuant to Section 301 of the Labor Management Relations Act

 5 (“LMRA”), 29 U.S.C. § 185, to confirm the Arbitration Award (“Award”) issued

 6 by the Impartial Arbitrator Barry Winograd (“Arbitrator Winograd”) on February

 7 9, 2018 in the arbitration between the Guild and Superstition Dog With A Bone,
 8 Inc., and Global Renaissance Entertainment Group, Inc. (“Respondents”).

 9          The Guild, a labor organization, and Respondent Superstition Dog With A
10 Bone, Inc., an employer, are bound to a collective bargaining agreement, the 2014-

11 2017 Directors Guild of America, Inc. Basic Agreement (“Basic Agreement”),

12 which includes a grievance and arbitration clause providing for final and binding

13 arbitration. (Petition, Exhibit “B”, pp. 000034-000045 [Basic Agreement, pp. 26-

14 37])

15          In breach of the Basic Agreement, Respondents failed to compensate Kevin
16 Goetz and Michael Goetz for directing services rendered on the low budget

17 theatrical motion picture Superstition (“the Picture”). Petitioner pursued the

18 grievance and arbitration procedure under Article 2 of the Basic Agreement to

19 obtain a remedy for this contract violation.

20          On February 9, 2018, Arbitrator Winograd issued a final and binding Award
21 sustaining the Guild’s grievance against Respondents. (Petition Exhibit “A,” p.
22 000031 [Award, p. 20]) The Award is, as provided in the Basic Agreement, final

23 and binding. Petitioner now moves to confirm it.
24                                             II
25                              FACTUAL BACKGROUND
26          The Guild and Respondent Superstition Dog With A Bone, Inc. are parties to
27 the 2014-2017 Directors Guild of America, Inc. Basic Agreement, which includes
28 an arbitration agreement. (Petition, Exhibit “B”) Respondent Superstition Dog
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 1 With A Bone, Inc. is bound to the Basic Agreement pursuant to a November 9,

 2 2016 Letter of Adherence. (Petition, Exhibit “C”) Respondent Global

 3 Renaissance Entertainment Group, Inc. is contractually obligated to guarantee the

 4 performance of Respondent Superstition Dog With A Bone, Inc. under its

 5 collective bargaining agreements with the Guild pursuant to the terms of its

 6 November 10, 2016 Theatrical Guarantee Agreement with the Guild. (Petition,

 7 Exhibit “E”) The terms of the Basic Agreement, as applicable to the Respondents,
 8 are modified pursuant to the November 7, 2016 Low Budget Sideletter (“LBSL”).

 9 (Petition, Exhibit “D”)

10          Article 2 of the Basic Agreement contains an agreement to handle all
11 disputes through a grievance and arbitration process. Paragraph 2-101 states, in

12 pertinent part,

13                “The following matters shall be subject to arbitration: All
14                grievances, disputes or controversies over the interpretation or
15                application of the BA and, in addition, all grievances, disputes
16                or controversies over the interpretation or application of any
17                Employee's personal services contract or deal memo with
18                respect to (a) credit provisions, (b) cutting rights provisions, (c)
19                preview rights provisions, (d) creative rights provisions
20                (including, without limitation, all consultation and/or approval
21                rights of any kind relating to any motion picture), (e) money
22                claims for unpaid compensation seeking $550,000 or less, (f)
23                cash per diem payments for Employees only....” (Petition,
24                Exhibit “B,” p. 000034)
25          On December 8, 2016, the Guild filed a grievance against Respondents
26 alleging a failure to pay the Picture’s Directors, Kevin Goetz and Michael Goetz,

27 the compensation and benefits required under the Low Budget Sideletter and their
28 personal services agreement. (Petition, ¶ 14)
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 1          On February 2, 2017, the Guild served Respondents with its Notice of Claim
 2 and Arbitration Claim, demanding arbitration of the December 8, 2016 grievance.

 3 (Petition, ¶ 15) The Guild and Respondents selected Barry Winograd of Oakland,

 4 California to serve as the impartial arbitrator for this matter. On October 26, 2017,

 5 an arbitration hearing was held in this matter at the Guild’s offices in Los Angeles,

 6 California. (Petition, ¶¶ 16-17)

 7          On February 9, 2018, Arbitrator Winograd issued his final and binding
 8 Award in this matter, which states, in pertinent part, at page 2:

 9                The undersigned was selected by the parties to conduct a
10                hearing and to render a final and binding award.... At the
11                hearing, the parties were afforded an opportunity to examine
12                and cross-examine witnesses, and to introduce relevant
13                documentary evidence. A transcribed record of the hearing was
14                prepared. The dispute was deemed submitted upon receipt of
15                the final post-hearing brief on January 12, 2018. (Petition,
16                Exhibit “A,” p. 000010 [Award, p. 2])
17          Further, the Arbitrator sustained the Guild’s grievance and ordered that:
18                Respondents shall pay each director, Kevin Goetz and Michael
19                Goetz, the amount of $100,240.30 plus additional late charges
20                in the amount of $823.89. In addition, for each director,
21                respondents shall pay the Guild’s pension and health trust the
22                balance due of $2,897.01, plus liquidated damages in the
23                amount of $579.40. (Petition, Exhibit “A,” p. 000032 [Award,
24                p. 24])
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 1                                           III
 2                                     ARGUMENT
 3           A. THE AWARD IS FINAL
 4          Section 301 of the Labor Management Rights Act (“LMRA”) grants the
 5 court authority to enforce “final and binding” arbitration awards made pursuant to

 6 a collective bargaining agreement. Gen. Drivers, Warehousemen & Helpers, Local

 7 89 v. Riss & Co., 372 U.S. 517, 519 (1963); Sheet Metal Workers’ Int’l Ass’n,
 8 Local 206 v. R.K. Burner Sheet Metal Inc., 859 F.2d 758, 760 (9th Cir. 1988).

 9 Moreover, the Basic Agreement, the collective bargaining agreement between

10 Petitioner and Respondents provides “[t]he award of the Arbitrator shall be

11 promptly furnished to the parties in writing and shall be final and binding on the

12 Guild, the Employee and the Employer.” (Petition, Exhibit “B,” p. 000041 [Basic

13 Agreement ¶ 2-309, p.33]) (emphasis added)

14          As mentioned, the parties selected Arbitrator Winograd to be the impartial
15 arbitrator. The parties submitted six issues for his consideration (Petition, Exhibit

16 “A,” p. 000010-000011 [Award, pp. 2-3]) and Arbitrator Winograd’s Award

17 addressed all of these issues and provided a clear and concise determination

18 sustaining the Guild’s claim that Respondents violated the Basic Agreement.

19 (Petition, Exhibit “A,” pp. 000031-000032 [Award, pp. 23-24]).

20           B.   THE AWARD SHOULD BE CONFIRMED
21          Supreme Court and Ninth Circuit precedents leave no doubt that Arbitrator
22 Winograd’s Award must be confirmed. The parties bargained for, and agreed to

23 accept, Arbitrator Winograd’s construction of the Agreement. See United
24 Paperworkers Int’l Union, AFL-CIO v. Misco, Inc., 484 U.S. 29, 37-38 (1987)

25 (“Because the parties have contracted to have disputes settled by an arbitrator
26 chosen by them rather than by a judge, it is the arbitrator’s view of the facts and of

27 the meaning of the contract that they have agreed to accept.”); accord Major
28 League Baseball Players Ass’n v. Garvey, 532 U.S. 504, 509-11 (2001); United
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 1 Steelworkers of Am. v. Enter. Wheel & Car Corp., 363 U.S. 593, 599 (1960). This

 2 Court is required to confirm Arbitrator Winograd’s Award “as long as the

 3 arbitrator is even arguably construing or applying the contract and acting within

 4 the scope of his authority.” Misco, 484 U.S. at 38; Southern Cal. Gas Co. v. Util.

 5 Workers Union Local 132, AFL-CIO 265 F.3d 787, 792 (9th Cir. 2001).

 6          This is, as the Sixth Circuit commented in Lattimer-Stevens Co. v. United
 7 Steelworkers of Am., AFL-CIO, Dist. 27, 913 F.2d 1166 (6th Cir. 1990), “one of
 8 the narrowest standards of judicial review in all of American jurisprudence.” Id. at

 9 1169; accord, Stead Motors of Walnut Creek v. Auto. Machinists Lodge No. 1173,

10 886 F.2d 1200, 1205 (9th Cir. 1989) (“nearly unparalleled degree of deference”).

11 Arbitrator Winograd’s Award meets this standard: he grounded his interpretation

12 of the agreements on the language of the Basic Agreement and LBSL themselves,

13 viewed against the testimony of both sides’ witnesses, to rule that the Respondents

14 owe compensation, pension, and health contributions to the Guild for Kevin Goetz

15 and Michael Goetz. His Award on the merits should be confirmed.

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 1                                            IV
 2                                     CONCLUSION
 3          Based on the above, the Petitioner respectfully requests that the Court issue
 4 an order confirming Arbitrator Winograd’s February 9, 2018 Arbitration Award.

 5

 6 Dated: May 11, 2018                      Respectfully submitted,
 7
                                            DAVID B. DREYFUS, ESQ.
 8                                          DIRECTORS GUILD OF AMERICA, INC.
 9                                          MICHAEL R. FEINBERG, ESQ.
                                            JULIE S. ALARCÓN, ESQ.
10                                          SCHWARTZ, STEINSAPIR,
11                                           DOHRMANN & SOMMERS LLP
12

13
                                            By /s/ Michael R. Feinberg
14
                                                    MICHAEL R. FEINBERG
15                                                    Attorneys for Petitioner
                                                 Directors Guild Of America, Inc.
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     ID#:                                              BRIEF IN SUPPORT OF PETITION TO CONFIRM ARBITRATION AWARD
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                           PROOF OF SERVICE - F.R.C.P. 5(b)
 2         I, the undersigned, certify and declare that I am a citizen of the United
 3 States, over the age of eighteen years, employed in the County of Los Angeles,
 4   State of California, and not a party to this action.
 5         On May 11, 2018, I served a true copy of MEMORANDUM OF POINTS
 6 AND AUTHORITIES IN SUPPORT OF PETITION TO CONFIRM
 7 ARBITRATION AWARD PURSUANT TO SECTION 301 OF THE LMRA,
 8 29 U.S.C. § 185 on the following:
 9                Jeffrey S. Miles, Esq.
10
                  Law Offices of Jeffrey S. Miles
                  P.O. Box 1001
11                Ojai, California 93024
12
                  E-mail: jsm100 l@aol.com

13    X    BY E-MAIL: I sent a copy of the above-described document(s) via e-mail
           to the individual(s) set fo1th below
14
15     X    By placing the document(s) for collection and mailing on that same date
           following the ordinary business practices of Schwartz, Steinsapir, Dohrmann
16         & Sommers LLP, at its place of business, located at 6300 Wilshire
17         Boulevard, Suite 2000, Los Angeles, California 90048-5268. I am readily
           familiar with the business practices of Schwartz, Steinsapir, Dohrmann &
18         Sommers LLP for collection and processing of con-espondence for mailing
19         with the United States Postal Service. Pursuant to said practices the
           envelope(s) would be deposited with the United States Postal Service that
20         same day, with postage thereon fully prepaid, at Los Angeles, California, in
21         the ordinary course of business. I am aware that on motion of the patty
           served, service is presumed invalid if the postal cancellation date or postage
22         meter date on the envelope is more than one day after the date of deposit for
23         mailing in the affidavit.

24         I hereby certify that I am employed in the office of a member of the Bar of

25 this Court at whose direction the service was made.
26       Executed on May 11, 2018, at Los Angeles, California.

27
28                                           �� ARB! ABRAMI

                                                                                       ID#: 350950
